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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
      UNIVERSITY OF
      MASSACHUSETTS and CARMEL
      LABORATORIES, LLC,
                                            C.A. No. 17-cv-868-CFC-SRF
                       Plaintiffs,

      v.

      L’ORÉAL USA, INC.,

                       Defendant.


                         [PROPOSED] FINAL JUDGMENT


  NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

  that:

           1.   For the reasons stated in the Court’s April 20, 2021 opinion (D.I. 410),

  final judgment of invalidity of claims 1, 3, 5, 6, 7, and 9 of U.S. Patent Nos.

  6,423,327 and 6,645,513 is entered in favor of Defendant L’Oréal USA, Inc. and

  against Plaintiffs University of Massachusetts and Carmel Laboratories, LLC.1

           2.   All pending motions are denied as moot. (See May 5, 2021 Oral Order;

  April 26, 2021 Status Teleconference Tr.)


  1
   The April 20 opinion addressed independent claim 1 and dependent claims 3, 5, 6,
  7, and 9 of the asserted patents, finding them invalid for indefiniteness. The parties
  agree that the Court’s opinion renders dependent claims 2, 4, 8, and 10 also invalid
  for indefiniteness.
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        3.     Any motion for attorney fees and/or costs, including any bill of costs

  under Fed. R. Civ. P. 54(d) and/or D. Del. LR 54.1 or motion pursuant to 35 U.S.C.

  § 285, Fed. R. Civ. P. 54(d)(2), or D. Del. LR 54.3, shall be considered timely if

  filed and served (1) within 30 days after final disposition of any appeal or (2) within

  30 days after the expiration of the time for filing a notice of appeal under Fed. R.

  App. P. 3 and 4.



  This is a final, appealable judgment.



        Dated: ________________

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                                                               Judge Colm F. Connolly




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